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                                                                                          FILED
                                                                                  VANESSA L ARMSTRONG, CLERK

                           UNITED STATES DISTRICT COURT                                 Aug 14 2017
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION                                 U.S. DISTRICT COURT
                                                                                 WESTERN DISTRICT OF KENTUCKY

SONYA TYSON                                         )
                                                    )   Case No. 3:17-cv-00091-DJH
              Plaintiff,                            )
                                                    )
       vs.                                          )
                                                    )   Judge David J. Hale
GENESIS ELDERCARE                                   )
REHABILITATION SERVICES, LLC                        )
                                                        AMENDED COMPLAINT
dba REGENCY CENTER                                  )
1550 Raydale Drive                                  )
Louisville, Kentucky 40219                          )
                                                    )
and                                                 )
                                                    )
REGENCY NURSING, LLC,                               )
dba REGENCY CENTER                                  )
1550 Raydale Drive                                  )
Louisville, Kentucky 40219                          )
                                                    )
              Defendants.                           )

                                         *** *** ***

       Plaintiff, Sonja M. Tyson, for her Complaint herein, states as follows:

       1.     Plaintiff, Sonja M. Tyson, is a resident of Louisville, Jefferson County, Kentucky

and Defendant, Genesis Eldercare Rehabilitation Services, LLC, is a foreign limited liability

company doing business as Regency Center at 1550 Raydale Drive, Louisville, Jefferson

County, Kentucky and Defendant, Regency Nursing, LLC, is a foreign limited liability company

doing business at 1550 Raydale Drive, Louisville, Jefferson County, Kentucky.

       2.     Plaintiff states that, on information and belief, at all times hereinafter mentioned,

Defendant, Genesis Eldercare Rehabilitation Services, LLC, and Defendant, Regency Nursing,




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LLC, owned and operated of a long term care facility doing business as Regency Center located

at 1550 Raydale Drive, Louisville, Jefferson County, Kentucky.

                                             COUNT I

       3.      From about 2007 until January 11, 2016, Plaintiff was a resident at Regency

Center located at 1550 Raydale Drive, Louisville, Jefferson County, Kentucky. Plaintiff was

placed in Defendant’s care since she was not able to care for herself due to mental and physical

limitations, and because Defendant held itself out as being able to care for Plaintiff. Defendant

was aware of the condition of Plaintiff and aware of the safety, monitoring, assistance, and

personal attention that needed to be provided to Plaintiff.

       4.      Plaintiff states that during the time she was a resident therein, Defendants,

through their agents, servants, employees, and/or ostensible agents, carelessly and negligently

failed to provide appropriate care for Plaintiff and as a consequence thereof, Plaintiff sustained

severe injuries including but not limited to decubitus ulcers, skin breakdown, acute kidney

failure, dehydration, sepsis, and urinary tract infection.

       5.      Plaintiff states that her said injuries are painful and permanent; that she has been

and will be compelled to expend money for doctors, hospitals, medicines, and other medical

expenses all to her damage in an amount in excess of the minimum jurisdictional requirements

for the United States District Courts.

                                             COUNT II

       6.      The acts and/or omissions of Defendants were such major and significant

deviations from accepted medical, nursing and rehabilitation practice that they, in addition to

negligence, constituted wanton, reckless disregard and/or grossly negligent conduct and as such,




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give rise to and warrant the imposition by the jury of significant punitive damages against the

Defendants.

                                            COUNT III

       7.      Plaintiff entered into an agreement with the Defendants whereby the Defendants,

in exchange for valuable consideration, agreed to provide Plaintiff with, among other things,

adequate living assistance, skilled medical and nursing care, and skilled supervision.

       8.      That the Defendants breached its agreement with Plaintiff, in that the Defendants

failed to provide Plaintiff with adequate living assistance, skilled medical and nursing care, and

skilled supervision.

       9.      That as a legal and proximate result of the Defendants’ breach, Plaintiff suffered

injuries to her person as set out above and she is, thus, entitled to recovery from Defendants for

all remedies available to her for breach of contract.

                                            COUNT IV

       10.     That Defendants, by and through its agents, servants, employees and/or ostensible

agents, deprived and infringed upon Plaintiff's rights as specified in section 216.515(6) of the

Kentucky Revised Statutes.

       11.     That as a legal and proximate result of the Defendants’ actions, Plaintiff suffered

injuries to her person, including but not limited to decubitus ulcers, skin breakdown, acute

kidney failure, dehydration, sepsis, urinary tract infection, mental and physical suffering.

       12.     That Plaintiff is, thus, entitled to recovery from Defendants for all remedies

available to her under section 216.515(6) of the Kentucky Revised Statutes.

       13.     The claims herein presented exceed the minimum jurisdictional limits of the

United States District Courts.



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       WHEREFORE, Plaintiff respectfully demands the following:

       1.      Judgment against Defendant, Genesis Eldercare Rehabilitation Services, LLC,

and Defendant, Regency Nursing, LLC, dba Regency Center, jointly and severally, in an amount

that will compensate Plaintiff for all compensatory and/or statutory damages from the

Defendants, including but not limited to pain and suffering and medical expenses in such amount

as the trier of fact shall deem just and reasonable;

       2.      Judgment against Defendants for punitive damages in an amount or amounts

determined by the trier of the fact;

       3.      That the Plaintiff be awarded all appropriate costs, attorneys’ fees and interest

authorized by law;

       4.      A trial by jury on all issues so triable; and

       5.      Any other such relief as is deemed just and appropriate.




                                                       /s/ Ray H. Stoess, Jr.
                                                       RAY H. STOESS, JR.
                                                       600 West Main Street, Suite 100
                                                       Louisville, Kentucky 40202
                                                       (502) 583-8633
                                                       FAX (502) 568-3600
                                                       Email raystoess@600westmain.com
                                                       Attorney for Plaintiff




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                              CERTIFICATE OF SERVICE

        The undersigned certifies that on the 30th day of June 2017 the foregoing was filed
electronically with the Clerk of the Court by using the CM/ECF system which will send a notice
of electronic filing to the following:

             Michael F. Sutton
          msutton@gsblegal.com
              David L. Haney
          dhaney@gsblegal.com
      401 West Main Street, Suite 1000
           Louisville, KY 40202
         Attorneys for Defendants,
           Genesis and Regency

                                                  /s/ Ray H. Stoess, Jr.
                                                  RAY H. STOESS, JR.




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